8:00-cr-00150-LES-TDT   Doc # 334   Filed: 04/21/09    Page 1 of 1 - Page ID # 309



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,    )
                              )
                Plaintiff,    )                   8:00CR150
                              )
          v.                  )
                              )
ANTHONY MARION,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on the motion to

continue disposition hearing (Filing No. 333).                The Court finds

the motion should be granted.       Accordingly,

           IT IS ORDERED that final dispositional hearing on the

petition for offender under supervision (Filing No. 322) is

rescheduled for:

                 Friday, June 5, 2009, at 9:30 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 21st day of April, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
